Case 2:22-cv-07326-MCA-LDW Document 291-14 Filed 01/31/24 Page 1 of 5 PageID: 9914




                            Exhibit 14.14
                    United States’ Motion to Enter Consent Decree,
        United States v. Alden Leeds, Inc. et al., Civil Action No. 22-7326 (D.N.J.)
Case 2:22-cv-07326-MCA-LDW Document 291-14 Filed 01/31/24 Page 2 of 5 PageID: 9915




                 EXHIBIT A-43
         AppendixA to OxyChem's Comments in Opposition to Proposed Consent Decree,
          United States v. Alden Leeds, Inc., et al., Civil Action No. 2:22-cv-07326 (D.Nj.)




                                                                                           ALCD-PUBCOM 0005858
 Case 2:22-cv-07326-MCA-LDW Document 291-14 Filed 01/31/24 Page 3 of 5 PageID: 9916

                                                                                                                                       3                                         r
                                                                                                                                       4.                    c'
                                                                                                                                                                         `
                                                                                                                                                                             9/'/7o
MAR 2 1 1
                               IMPROVED PROCESS FOR THE M.NUPACTURI
                                          O' COMPOUND G-11


                   The large amounts of sulfuric acid needed in the pres-

      ent process for the manufacture of G-11 and the difficulty of

      the disposal of the waste sulfuric acid made it desirable to

      find a method where considerably smaller amounts ofsulfuric

      acid would be applied or where the acid could be reused.

                   In the first experiments, the 93% sulfuric acid was

      replaced by 62% and 80% acid which could be filtered off from

      the reaction product and re-used.                                                     However, the results in re-

      gard tothe quality of the G-ll were inferior,

                   At present, 715 g. of sulfuric acid 93% are employed

      for 100 g. of trichiorophenol; it was found that this amount

      of acid could be out down to one-third without diminishing the

      yield or changing the quality of the product.

                   A much bigger reduction of the amount of sulfuric

      acid used could only be achieved by carrying out the reaction

      at a temperature high enough to keep the mixture in a liquid

      state.   Aqueous formaldehyde had to be replaced by trioxane or

      paraformaldehyde. A large number of experiments showed that

      the optimum temperature lies between 1300 and 1400, that the

      time of reaction should be very short (a few minutes), that

      oleum 20% which gives slightly better results than 93% sul-

      furic acid should be used to the amount of 65 g. per one mol

      (198 g.) of trichlorophenol.                                             An excess of paraformaldehyde

      (25% above the theoretical amount) must be used in order to re-




               F


        . ..                                                                                                       w..-...-ri-~s'-ss•aC9'M'.~v~   . ..en..        ..
                                   -.~.~   ~   -.--....-.--...--:   .~   ~-r   as   .   a...wwk-ir'c -~.~rv   -.
               -   -   -   -   -

                                                                                                                                           GIV NBC 0664681

                                                                                                                                                                       ALCD-PUBCOM 0005859
Case 2:22-cv-07326-MCA-LDW Document 291-14 Filed 01/31/24 Page 4 of 5 PageID: 9917
                                       -2-



     duce unchanged trichlorophenol to a minimum.      Iron apparatus

     is entirely satisfactory.

                The modified process is illustrated by the following

     example:

                A mixture of 198 g. of Dowieide #2, purified by vacu-

     um distillation,     and of 18.8 g. of paraformaldehyde are heated

     to 750 and well stirred.      65 g. of oleum 20% is added dropwise
     and the addition Is so regulated that the temperature rises

     slowly without outside heat, reaching about 135° at the end.

     The addition of the oleum takes 10 to 15 min.       The mixture is

     stirred for two minutes more and then allowed to run into a

     solution of 100 g. of caustic soda flakes in 1000 cc of water.

     The reaction flask is washed with a solution of 25 g. of caus-

     tic soda flakes In 250 cc of water.       The combined alkaline so-

     lutions are heated to boiling until practically all of the melt

     has gone into solution, and are filtered over filter-eel. 6 g.

     of alkali-insoluble material remain on the filter pad.

                Under good stirring, 62% sulfuric acid (about 120 g.)

     are added dropwise to the alkaline solution until a pH of 10.3

     was reached.       The G-11 sodium salt formed is filtered off, and

     washed with 200 cc of water. . It is then suspended In 2 1. of

     water and acidified with sulfuric acid under stirring until

     congo red paper turns blue; about 30 g. of 62% sulfuric acid

     are needed.    The G-ll Tech. is filtered, washed with water un-

     til acid-free and dried.       170 g. (84% of the theory) of the m.p.

     1540-1580 are obtained.




                                                            GIV_NBC_0664682

                                                                     ALCD-PUBCOM 0005860
Case 2:22-cv-07326-MCA-LDW Document 291-14 Filed 01/31/24 Page 5 of 5 PageID: 9918

                                    -3-


                The alkaline mother liquor of the G-11 sodium salt was

     acidified and steam distilled.    No unreacted Dowicide #2 was re-

     covered; however, 24 g. of resinous material remained.

                     Yield:   G-11 Tech.             170 g.

                              Resin alkali-soluble    24 g.

                              Alkali-insoluble         6 g.
                                   Total             200 g.




     Dr. W. 3. Gump
     Delawanna, New Jersey
     January 8, 1945.




                                                         GIV NBC 0664683

                                                                   ALCD-PUBCOM 0005861
